                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE MIDDLE DISTRICT OF TENNESSEE
                                 AT NASHVILLE

                                            )
MELANIE LANHAM                              )
    Plaintiff,                              )
                                            )
v.                                          )
                                            )
MANGLAM HOTELS LLC, NISH                    )
JOBALIA and SHREY PATEL                     )
    Defendants                              )
                                         COMPLAINT

         Come now the Plaintiff, Melanie Lanham, by and through counsel, and for cause of

 action shall respectfully show to the Court as follows:

       1.      This action for damages is brought to redress Defendant’s contravention of the

Fair Labor Standards Act of 1938, 29 U.S.C. §§201 et seq. By Defendants’ actions of retaliation

against Plaintiff for engaging in protected activity under the FLSA. Plaintiff seeks damages for

back pay, front pay, damages for emotional distress, liquidated and punitive damages along with

his reasonable attorney’s fees, costs and expenses incurred due to Defendants’ wanton and willful

violations of the Fair Labor Standards Act.

       2.      The Fair Labor Standards Act was of 1938 was codified to protect and correct

working conditions detrimental to workers. “The statute was a recognition of the fact that due to

the unequal bargaining power as between employer and employee, certain segments of the

population required federal compulsory legislation to prevent private contracts on their part

which endangered national health and efficiency and as a result the free movement of goods in

interstate commerce.” Brooklyn Sav. Bank v. O'Neil, 324 U.S. 697, 706-07, 65 S. Ct. 895, 89 L.



                                                1
     Case 3:19-cv-00371       Document 1       Filed 05/03/19     Page 1 of 9 PageID #: 1
Ed. 1296 (1945); Cited by Williams v. Alimar Sec., Inc., No. 13-12732, 2016 U.S. Dist. LEXIS

150119, at 4-6 (E.D. Mich. Oct. 31, 2016). "'Recognizing that there are often great inequalities in

bargaining power between employers and employees, Congress made the FLSA's provisions

mandatory; thus, the provisions are not subject to negotiation or bargaining between employers

and employees.'" Cited by Williams v. Alimar Sec., Inc., No. 13-12732, 2016 U.S. Dist. LEXIS

150119, at 4-6 (E.D. Mich. Oct. 31, 2016).

       3.      The FLSA also proscribes illegal actions “to discharge or in any other manner

discriminate against any employee because such employee has filed any complaint or instituted

or caused to be instituted any proceeding under or related to this Act (29 USCS §§ 201 et seq.; or

has testified or is about to testify in any such proceeding, or has served or is about to serve on an

industry committee. 29 USCS § 215.

                                  JURISDICTION AND VENUE

        4.      This Court has jurisdiction over this action pursuant to 29 U.S.C. § 216(b) and

 28 U.S.C. §1331.

        5.      All actions arising under this complaint occurred in Davidson County Tennessee,

 therefore proper venue lies with the Middle District of Tennessee pursuant to 28 U.S.C. §

 1391(b).

                                             PARTIES


        6.      Plaintiff is a former employee of Wingate by Wyndham, 202 Northgate Circle,

 Goodletsville, Tennessee 37072 and Manglam Hotels LLC, (collectively “Defendants”).




                                                 2
    Case 3:19-cv-00371         Document 1       Filed 05/03/19      Page 2 of 9 PageID #: 2
       7.       The Defendant, Manglam Hotels, LLC is a domestic Limited Liability Company

formed in Tennessee whose principal office is located at 202 Northgate Circle, Goodletsville,

Tennessee 37072-1921. The registered agent is Rudy Winstead Turner PLLC, 2010 21st Avenue

South, Nashville, Tennessee 37212.

        8.       Plaintiff was an employee within the meaning of the Fair Labor Standards Act,

29 U.S.C. § 203(e)(1).

        9.       Defendant, Manglam Hotels LLC, is an employer within the meaning of 29

U.S.C. § 203(d) of the Fair Labor Standards Act.

        10.      Defendant, Shrey Patel is the General Manager of the Wingate by Wyndham

owned by Manglam Hotels LLC.

        11.      Defendant, Nish Jobalia is an owner of the Wingate by Wyndham and Manglam

Hotels LLC.

        12.      Defendants, Shrey Patel and Nish Jobalia, exercised control over the hours

worked by Plaintiff.

        13.      Defendants, Shrey Patel and Nish Jobalia, exercised control over the manner in

which work was performed by Plaintiff.

        14.      Defendants, Shrey Patel and Nish Jobalia, exercised control over compensation

paid to Plaintiff.

        15.      Defendants, Shrey Patel, in the capacity as General Manager, acted directly and/

or indirectly in the interest of and on behalf of Defendants with regard to Plaintiff.




                                                 3
    Case 3:19-cv-00371        Document 1        Filed 05/03/19       Page 3 of 9 PageID #: 3
        16.     Defendant, Shrey Patel, is responsible in whole or in part for the violations of the

 FLSA discussed herein.

        17.     Defendant, Shrey Patel, is an employer within the meaning of 29 U.S.C. § 203(d)

 of the Fair Labor Standards Act.

        18.     Defendant, Nish Jobalia, is responsible in whole or in part for the violations of

 the FLSA discussed herein.

        19.     Defendant, Nish Jobalia, is an employer within the meaning of 29 U.S.C. §

 203(d) of the Fair Labor Standards Act.

        20.     Defendant Employers comprise an enterprise engaged in commerce within the

 meaning of the Fair Labor Standards Act 29 U.S.C. § 203(e)(1).

        21.     Defendants have done in excess of $500,000.00 in annual dollar volume of

 business in each of the past three years.

        22.     The Plaintiff was engaged in interstate commerce, the production of goods for

 interstate commerce, or an activity which is closely related and directly essential to the

 production of such goods in each workweek of her employ with Defendants.

                                    FACTUAL ALLEGATIONS

       23.     On or about August 2016, Plaintiff began employment as an Executive

Housekeeper at the Hampton Inn & Suites at 202 Northgate Circle in Goodlettsville, Tennessee.

       24.     On or about November 2018, the Hampton Inn was sold and underwent a remodel

where the name was changed to Travelodge. After the relaunch the hotel became

Wingate at Wyndham. At all times relevant to this action, Shrey Patel was the General Manager.

                                                  4
    Case 3:19-cv-00371         Document 1        Filed 05/03/19       Page 4 of 9 PageID #: 4
        25.     In 2017, Patel began to add more duties and responsibilities to Plaintiff’s position on the

Housekeeping staff. Additionally to her responsibilities as Executive Housekeeper, she served as

a breakfast attendant, houseman laundry attendant and desk clerk, as needed. At that time Plaintiff

worked 6 or 7 days a week, over forty hours per week.

        26.     In mid-August 2018, The Department of Labor (DOL), Mr. Tarantino, came to the

Hotel and asked Plaintiff about her hours worked and overtime pay. Plaintiff engaged in protected

activity by responding to the DOL investigation.

        27.     The Department of Labor completed their investigation and on Thursday December

6, 2018. Shrey Patel and Gary Gamble met with Plaintiff and informed her that the DOL had

determined that she was underpaid overtime and that Defendants owed her $3,500 in overtime pay

and $3,500 in liquidated damages.

        28.     Patel then told Plaintiff that the owners wanted her to give the liquidated damages,

$3,500, back to Defendants, because that money “was not hers.” Patel stated, “they didn't do

anything wrong and that was their money, not hers.”

        29.     Patel gave Plaintiff her check for overtime damages but withheld the check for

liquidated damages placing the check in the hotel safe. Patel told Plaintiff that if she decided to keep

the check for liquidated damages she could have the check on December 20, 2018.

        30.     Plaintiff then contacted Guy Tarantino about the withheld check and Tarantino

instructed Plaintiff that she was owed the liquidated damages and the check should not have been

withheld.

        31.     Upon return to work on December 12, 2018, Plaintiff told Patel that she wanted her

liquidated damages check and was told by Patel that her work schedule would change immediately.


                                                    5
    Case 3:19-cv-00371           Document 1        Filed 05/03/19        Page 5 of 9 PageID #: 5
Her schedule previously had been Wednesday to Sunday 7:00 am to 3:00 pm. Now her schedule was

changed to 3 days a week at no more than 20 hours per week, according to Patel, “at the decision of

the owners.”

          32.   At the same time Defendants added new staff to replace the hours that had been

taken away from Plaintiff.

          33.   In January 2019, Plaintiff worked irregular hours, 16 one week and then 21 the next

week.

          34.   In January 2019, Plaintiff also began suffering from panic attacks and her doctor

prescribed her hydroxyzine.

          35.   Unable to tolerate the extreme conditions placed by Defendants on Plaintiff, she was

constructively discharged on February 13, 2019.

          36.   Plaintiff was retaliated against for engaging in protected activity by answering the

Department of Labor Investigators’ questions.

          37.   All other reasons provided by Defendants for their retaliatory actions against Plaintiff

are mere pretext.

                    VIOLATION OF THE FAIR LABOR STANDARDS ACT:
                                   RETALIATION


          38.   Plaintiff hereby re-alleges paragraphs 1 through 37 as though fully set for

herein.

          39.   “To make a prima facie case of retaliation, a plaintiff must prove that "(1) she

engaged in protected activity under the FLSA; (2) her exercise of this right was known by the



                                                   6
    Case 3:19-cv-00371          Document 1         Filed 05/03/19      Page 6 of 9 PageID #: 6
employer; (3) the employer took an employment action adverse to her; and (4) there was a causal

connection between the protected activity and the adverse employment action." Pettit v.

Steppingstone, Ctr. for the Potentially Gifted, 429 F. App'x 524, 530 (6th Cir. 2011). Cited by

McKinnon v. L-3 Communs. Corp., No. 1:16-CV-00458-MRB, 2018 U.S. Dist. LEXIS 137126,

at *26-27 (S.D. Ohio Aug. 14, 2018).

        40.     Plaintiff engaged in protected activity by complying with the Department of

Labor Audit regarding Defendants’ wage and hour practices.

        41.     Defendants immediately took adverse employment actions against the Plaintiff;

namely, reducing her hours from 40+ per week to 20 hours or less per week.

        42.     Pursuant to 29 U.S.C. § 215, Plaintiff was entitled to engage in and assert FLSA

protected activities and rights without retaliation.

        41.     A causal link exists between the Defendants’ decision to terminate Plaintiff and

the Plaintiff engaging in FLSA protected activity.

        43.     Defendants retaliated against Plaintiff for not returning her liquidated damages to

the Defendants by slashing her schedule to 20 hours or less per week. Defendants actions cannot

be justified because they simultaneously added staff to replace hours that had previously been

assigned to Plaintiff.

        44.     Defendants actions against Plaintiff were in retribution and retaliation for

participating in the investigation conducted by the Department of Labor and for refusing to

return the check for liquidated damages.




                                                  7
    Case 3:19-cv-00371          Document 1       Filed 05/03/19      Page 7 of 9 PageID #: 7
        45.       Defendants act of withholding her check for liquidated damages on December 6,

2018, is, in itself, an act of retaliation.

        46.       Defendants had no legitimate, non-retaliatory reason for their actions described

herein, and any reason given by Defendants would be pretextual in nature.

                                     CONSTRUCTIVE DISCHARGE

        47.       Plaintiff hereby re-alleges paragraphs 1 through 46 as though fully set for the

        herein.

        48.       The elements of the claim of constructive discharge include, 1) the employer

deliberately created intolerable working conditions, as perceived by a reasonable person, (2) the

employer did so with the intention of forcing the employee to quit, and (3) the employee actually

quit." Savage v. Gee, 665 F.3d 732, 739 (6th Cir. 2012). Cited by Festerman v. Cty. of Wayne, 611

F. App'x 310, 319 (6th Cir. 2015).

        49.       It is undisputed that Defendants dramatically reduced Plaintiff’s work hours after

she after she engaged in protected activity, responded to the DOL investigation and refused to

return the liquidated check to Defendants in the amount of $3,500. Defendants knew that by

reducing her hours she would be forced to look for other employment. Defendants made the

work environment intolerable by withholding her liquidated damages check and acting

unscrupulously to force her to return the check.

        WHEREFORE, Plaintiff requests this court enter judgment in favor of the Plaintiff and

against Defendants, for:




                                                   8
    Case 3:19-cv-00371            Document 1      Filed 05/03/19      Page 8 of 9 PageID #: 8
        1.      A finding that Defendants are liable to Plaintiff for willful violations of the anti-

retaliation requirements of the Fair Labor Standards Act.

        2.      A finding that Defendants are liable to Plaintiff for Defendant’s illegal retaliation in

violation of the Fair Labor Standards Act.

        3.      An award compensating the Plaintiff for Defendants’ illegal retaliation including

back pay, front pay, liquidated damages, punitive damages, compensation for any special damages

sustained as a result of the discharge or discrimination, including litigation costs, expert witness fees,

and reasonable attorney's fees, and prejudgment interest.

        4.      Such other and further relief as this Honorable Court deems just and proper.


                                                 Respectfully submitted,


                                                 s/Frank J. Steiner
                                                 Frank J. Steiner       BPR# 26920
                                                 2200 21 Avenue South, Suite 309
                                                         st

                                                 Nashville, Tennessee 37212
                                                 (615) 730-6090
                                                 franksteiner@franksteinerlaw.com
                                                 Attorney for Plaintiff




                                                    9
    Case 3:19-cv-00371           Document 1        Filed 05/03/19       Page 9 of 9 PageID #: 9
